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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


  JENNIFER SMITH,

        Plaintiff,

                                             CASE NO: 6:24-cv-00457-PGB-RMN

  FLORIDA AGRICULTURAL &
  MECHANICAL UNIVERSITY
  BOARD OF TRUSTEES, et al.


        Defendants.
                                                 /

                      SECOND NOTICE ON MEDIATION

       NOTICE IS HEREBY GIVEN that pursuant to Local Rule 4.01 and this

 Court’s Order (Docs. 45, 151), that Plaintiff Jennifer Smith (“Professor Smith”)

 attempted to re-schedule mediation in the above-referenced matter; however, neither

 Defendant FAMU nor the Mediator provided dates. Specifically, Professor Smith

 sought to reschedule the mediation to include Professor Smith and Defendant

 FAMU. The mediator, Linda Bond Edwards, Esq. of Rumberger Kirk,

 101 North Monroe Street, Suite 1050, Tallahassee, FL 32301 emailed: “Ms. Smith,

 I cannot provide dates for a mediation until ALL parties are provided an opportunity

 to participate in the mediation process. A mediation is intended to resolve all claims

 against all parties unless ALL the Parties agree otherwise.” Defendant FAMU
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 emailed: “Jennifer, in my experience, the mediator controls the process, so I will

 defer to her.” Accordingly, Mediation has not been scheduled.

       Dated: September 3,, 2024.



                                                               Respectfully submitted,

                                                                  /s/ Jennifer Smith
                                                                      Jennifer Smith
                                                    Florida Bar No. 964514 (pro se)
                                                       Law Office of Jennifer Smith
                                          13506 Summerport Village Pkwy., Suite 108
                                                             Windermere, FL 34786
                                                                       407-455-0712


                            CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 3rd day of September, 2024, I electronically

 filed the foregoing with the Clerk of the Court by using the CM/ECF system, which

 will send a notice of electronic filing to all registered users.


                                                        /s/ Jennifer Smith
                                                        Jennifer Smith (pro se)
                                                        Law Office of Jennifer Smith




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